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                                 January 5, 2022

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 Lloyd R. Tatum
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Re:             United States v. Terry Smith, et. al.
                Case No. 20-cr-10052-JDB

Dear Counsel:

This letter is written as a response to your discovery request received by our office. In accordance
with Rule 16 of the Federal Rules of Criminal Procedure and pursuant to your discovery request,
the United States has enclosed the following:

           Documents which have been Bates-labeled Smith, et.al.-001515 - Smith, et. al.-
           001518 regarding the above defendants.

Please notify me at once should you have difficulty with the discovery, or find that any items are
incomplete or missing.

Also, please consider any item that is within the government’s possession, custody or control, as
evidence that may be used in the government’s case-in-chief at trial. As any such item may be
material to the preparation of your defense, or may have been obtained from or belong to your
client, accordingly, if copies have not been provided to you with this letter, you will be permitted
to inspect all of those items and to copy or photograph those items that are intended to be used in
the government’s case-in-chief at trial in accordance with Rule 16(a)(1)(E).

Any other tangible seized evidence may be examined by appointment. To do so, please contact
our office and we will, in turn, contact the case agent to set that up at your convenience.

The government is unaware of any Rule 404(b) type evidence in this case at this time. Should this
circumstance change and other potential evidence be discovered, you will be promptly advised.
The government responds to your other requests by stating that to the extent your letter requests
items that are either not discoverable pursuant to Rule 16 of the Federal Rules of Criminal
Procedure or not applicable to the instant offense, the United States objects to your request on
these grounds. Further, the United States is aware of its continuing duty under Rule 16(c), Brady
v. Maryland and United States v. Giglio.

Please consider this letter the government’s request for reciprocal discovery pursuant to Rule 16
(b) of the Federal Rules of Criminal Procedure. Pursuant to Fed.R.Crim.P. 12.1, the government
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requests that the defendant notify the attorney for the government in this cause of any intended
alibi defense.

Feel free to contact me if you have any questions related to this matter, or if I can be of assistance
in reaching a resolution of this case. I especially urge you to advise me of any problems
encountered which impinge on your obtaining completion of your Rule 16 request or affect my
compliance therewith.

                                                      Sincerely,

                                                      JOSEPH C. MURPHY, JR.
                                                      UNITED STATES ATTORNEY

                                                      By: s/Hillary Lawler Parham____________
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HLP:lm

Enclosures

cc: District Court Clerk (sans enclosures)
